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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Douglas Siple,                      )
                                    )
         Plaintiff,                 )
                                    )
         v.                         )            No.   12 C 4019
                                    )
AllianceOne Receivables Management, )
Inc., a Delaware corporation,       )
                                    )
         Defendant.                 )            Jury Demanded

                                      COMPLAINT

      Plaintiff, Douglas Siple, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt

collection actions violated the FDCPA, and to recover damages for Defendant’s

violations of the FDCPA, and alleges:

                             JURISDICTION AND VENUE

      1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

      2.     Venue is proper in this District because: a) the acts and transactions

occurred here; and, b) Defendant resides and transacts business here.

                                        PARTIES

      3.     Plaintiff, Douglas Siple (“Siple"), is a citizen of the State of Pennsylvania,

from whom Defendant attempted to collect a delinquent consumer debt owed to Credit

First, despite the fact that he was represented by the legal aid attorneys at the Chicago

Legal Clinic's Legal Advocates for Seniors and People with Disabilities program
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("LASPD"), located in Chicago, Illinois.

       4.     Defendant, AllianceOne Receivables Management, Inc. (“AllianceOne”), is

a Delaware corporation that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, delinquent consumer debts. From offices throughout the United States and

overseas (Jamaica, Canada, Philippines, and India), Defendant AllianceOne operates a

nationwide debt collection business and attempts to collect debts from consumers in

every state, including many thousands of consumers in the State of Illinois. In fact,

Defendant AllianceOne was acting as a debt collector as to the delinquent consumer

debt it attempted to collect from Plaintiff.

       5.     Defendant AllianceOne is authorized to conduct business in Illinois,

maintains a registered agent here and has its President based here in Oakbrook,

Illinois, see, record from the Illinois Secretary of State, attached as Exhibit A. In fact,

AllianceOne conducts business in Illinois.

       6.     Moreover, Defendant AllianceOne is licensed as a collection agency in

Illinois, see, record from the Illinois Division of Professional Regulation, attached as

Exhibit B. In fact, AllianceOne acts as a debt collector in Illinois.

                                 FACTUAL ALLEGATIONS

       7.     Mr. Siple is a disabled man, with limited assets and income, who fell

behind on paying his bills. When AllianceOne began trying to collect the Credit First

debt from Mr. Siple, by sending him a collection letter dated May 11, 2011, he sought

the assistance of the legal aid attorneys at the Chicago Legal Clinic’s LASPD program,

regarding his financial difficulties and Defendant AllianceOne’s collection actions. A



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copy of AllianceOne’s May 11, 2011 collection letter is attached as Exhibit C.

       8.     Accordingly, on June 10, 2011, one of Mr. Siple's attorneys at LASPD

informed AllianceOne, in writing, that Mr. Siple was represented by counsel, and

directed AllianceOne to cease contacting him, and to cease all further collection

activities because Mr. Siple was forced, by his financial circumstances, to refuse to pay

his unsecured debts. Copies of this letter and fax confirmation are attached as Exhibit

D.

       9.     Nonetheless, Defendant AllianceOne called Mr. Siple directly multiple

times including, but not limited to, telephone calls on June 21, 2011, June 22, 2011,

June 23, 2011, June 24, 2011, June 27, 2011, June 28, 2011, June 30, 2011, July 5,

2011, July 7, 201 and July 11, 2011, from telephone number 888-419-2387, to attempt

to collect the Credit First debt.

       10.    Defendant AllianceOne’s collection actions complained of herein occurred

within one year of the date of this Complaint.

       11.    Defendant AllianceOne’s collection communications are to be interpreted

under the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

                                       COUNT I
                       Violation Of § 1692c(c) Of The FDCPA --
              Failure To Cease Communications And Cease Collections

       12.    Plaintiff adopts and realleges ¶¶ 1-11.

       13.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they



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refuse to pay. See, 15 U.S.C. § 1692c(c).

      14.    Here, the letter from Mr. Siple’s, agent/attorney, LASPD, told Defendant

AllianceOne to cease communications and cease collections (Exhibit D). By continuing

to communicate regarding this debt and demanding payment, Defendant AllianceOne

violated § 1692c(c) of the FDCPA.

      15.    Defendant AllianceOne’s violations of § 1692c(c) of the FDCPA render it

liable for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      16.    Plaintiff adopts and realleges ¶¶ 1-11.

      17.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debts and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      18.    Defendant AllianceOne knew that Mr. Siple was represented by counsel in

connection with his debts because his attorneys at LASPD had informed Defendant, in

writing (Exhibit D), that he was represented by counsel, and had directed Defendant

AllianceOne to cease directly communicating with him. By directly calling Mr. Siple,

multiple times, despite being advised that he was represented by counsel, Defendant

AllianceOne violated § 1692c(a)(2) of the FDCPA.

      19.    Defendant AllianceOne’s violations of § 1692c(a)(2) of the FDCPA render

it liable for actual and statutory damages, costs, and reasonable attorneys’ fees. See,



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15 U.S.C. § 1692k.

                                  PRAYER FOR RELIEF

       Plaintiff, Douglas Siple, prays that this Court:

       1.     Find that Defendant AllianceOne’s debt collection actions violated the

FDCPA;

       2.     Enter judgment in favor of Plaintiff Siple, and against Defendant

AllianceOne, for actual and statutory damages, costs, and reasonable attorneys’ fees as

provided by § 1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Douglas Siple, demands trial by jury.

                                                     Douglas Siple,

                                                     By: /s/ David J. Philipps________
                                                     One of Plaintiff’s Attorneys

Dated: May 23, 2012

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